Case 1:18-cr-00609-HG Document 518 Filed 10/11/22 Page 1 of 1 PageID #: 3980




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                                                               October 11, 2022
VIA ECF
The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

                Re:     United States v. Alfred Lopez, et al., 18-cr-609 (HG)
Dear Judge Gonzalez:

       We write to respectfully request that the Court take Judicial Notice of the cross streets for
two Bronx addresses that were discussed in this trial pursuant to Federal Rules of Evidence 201.

   1. Alfred Lopez’s New York State Identification Card which is in evidence as GX 2236(l)
      lists his address as 372 East 167th Street, Apt. 6, Bronx, NY 10456. We respectfully
      request that the Court take Judicial Notice that this address is between Teller Avenue and
      Clay Avenue in the Bronx, NY.

   2. Shipping label recovered from the Ford Fusion which is in evidence as 2011(n) with the
      name and address listed as Alfred Lopez/Kiera, 2256 Walton Avenue, Apt. 1G, Bronx, NY
      10453. We respectfully request that the Court take Judicial Notice that this address is
      between East 182nd Street and East 183rd Street in the Bronx, NY.

   Attached to this document are two maps from Google maps illustrating the locations of the
above two address.


                                                               Sincerely,
                                                               /s/
                                                               John Burke
                                                               &
                                                               Christopher Wright




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